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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF TEXAS
                                    MARSHALL DIVISION

  BYTEMARK, INC.,                                    §
                                                     §
             Plaintiff,                              §
                                                     §
      vs.                                            §     Civil Action No. 2:16-cv-00543-JRG-RSP
                                                     §
  MASABI LTD.,                                       §
                                                     §
             Defendant.                              §

      PLAINTIFF BYTEMARK, INC.’S ANSWER AND AFFIRMATIVE DEFENSES TO
                  DEFENDANT MASABI LTD.’S COUNTERCLAIMS


            Plaintiff/Counterclaim-Defendant Bytemark, Inc. (“Bytemark”) files this Answer and

  Affirmative Defenses to Defendant/Counterclaim-Plaintiff Masabi Ltd.’s (“Masabi”) Answer to

  Plaintiff’s Amended Complaint For Patent Infringement And Affirmative Defenses And

  Counterclaims (Doc. No. 74) and in response to Masabi’s Counterclaims shows as follows:

                                          COUNTERCLAIMS 1

            59.    In response to the allegations contained in paragraph 59 of the Counterclaims,

  Bytemark says that no response to this averment is required. To the extent a response is required,

  the allegations of paragraph 59 of the Counterclaims are denied.

            60.    In response to the allegations contained in paragraph 60 of the Counterclaims,

  Bytemark lacks knowledge or information sufficient to form a belief about the truth of the

  allegations contained in paragraph 60 of the Counterclaim and on that basis Bytemark denies the

  allegations.


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    All headings and titles repeated herein are taken from Masabi’s counterclaim pleading and are included
  in Bytemark’s answer to those counterclaims for purposes of clarity only. To the extent any allegations are
  separately made by Masabi in those headings or titles, those allegations, including any characterizations
  contained or implied in any of those headings or titles in the Counterclaims, are denied.
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         61.    In response to the allegations contained in paragraph 61 of the Counterclaims,

  Bytemark admits the allegations.

                                 JURISDICTION AND VENUE

         62.    In response to the allegations contained in paragraph 62 of the Counterclaims,

  Bytemark admits the allegations.

         63.    In response to the allegations contained in paragraph 63 of the Counterclaims,

  Bytemark admits the allegations.

         64.    In response to the allegations contained in paragraph 64 of the Counterclaims,

  Bytemark denies the allegations.

         65.    The allegations contained in paragraph 65 of the Counterclaims state legal

  conclusions to which no response is required. To the extent a response is required, Bytemark

  denies the allegations contained in paragraph 65 of the Counterclaims.

                                       COUNTER CLAIM I
                                     (The ‘967 Patent Is Invalid)

         66.    Bytemark realleges and hereby incorporated by reference all preceding responses

  previously made herein and by way of further response states:

         67.    In response to the allegations contained in paragraph 67 of the Counterclaims,

  Bytemark denies the allegations.

         68.    In response to the allegations contained in paragraph 68 of the Counterclaims,

  Bytemark denies the allegations.

                                      COUNTER CLAIM II
                                (The ‘967 Patent Is Not Infringed)

         69.    Bytemark realleges and hereby incorporated by reference all preceding responses

  previously made herein and by way of further response states:




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         70.     In response to the allegations contained in paragraph 70 of the Counterclaims,

  Bytemark denies the allegations.

         71.     In response to the allegations contained in paragraph 71 of the Counterclaims,

  Bytemark denies the allegations.

                                       COUNTER CLAIM III
                                     (The ‘993 Patent Is Invalid)

         72.     Bytemark realleges and hereby incorporated by reference all preceding responses

  previously made herein and by way of further response states:

         73.     In response to the allegations contained in paragraph 73 of the Counterclaims,

  Bytemark denies the allegations.

         74.     In response to the allegations contained in paragraph 74 of the Counterclaims,

  Bytemark denies the allegations.

                                      COUNTER CLAIM IV
                                 (The ‘993 Patent Is Not Infringed)

         75.     Bytemark realleges and hereby incorporated by reference all preceding responses

  previously made herein and by way of further response states:

         76.     In response to the allegations contained in paragraph 76 of the Counterclaims,

  Bytemark denies the allegations.

         77.     In response to the allegations contained in paragraph 77 of the Counterclaims,

  Bytemark denies the allegations.

                                   DEMAND FOR JURY TRIAL

         78.     In response to the non-numbered paragraph of the Counterclaims titled “Demand

  For Jury Trial”, Bytemark states that Masabi’s request for a jury trial does not require an admission

  or denial. Bytemark has also demanded a jury trial pursuant to Rule 38 of the Federal Rules of




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  Civil Procedure on all issues so triable. To the extent that any allegations are included in Masabi’s

  jury demand, Bytemark denies these allegations.

                   PRAYER FOR RELIEF APPLICABLE TO ALL COUNTS

         79.     In response to the allegations contained in paragraphs 78 through 83 of the

  Counterclaim, including all subparts, wherein Masabi states the relief it seeks by way of this

  counterclaim, Bytemark denies that Masabi is entitled to recover any relief whatsoever against

  Bytemark in this action, either as set forth in paragraphs 78 through 83 of the Counterclaim,

  including all subparts, or as otherwise requested in the Counterclaims. To the extent that Masabi’s

  request for relief incorporates any other allegations set forth in the Counterclaims, Bytemark

  repeats and expressly incorporate its responses to those prior paragraphs and, except as expressly

  admitted in any previous response, Bytemark denies each and every, all and singular, the factual

  allegations contained in the Counterclaims.

                           BYTEMARK’S AFFIRMATIVE DEFENSES

         80.     Further answering the allegations contained in the Counterclaims, Bytemark

  restates and incorporates its responses to all foregoing paragraphs as set forth above as though

  fully set forth and repeated herein and, without assuming any burden that Bytemark would not

  otherwise have in defending against the claims alleged by Masabi in the Counterclaims and

  without admitting or acknowledging that Bytemark bear the burden of pleading, the burden of

  coming forward with evidence or the ultimate burden of proof on any issue that would otherwise

  rest on Masabi, separately assert the following defenses and affirmative defenses:

                                      First Affirmative Defense

         81.     Masabi’s Counterclaims, on one or more counts set forth therein, fail to state a

  claim upon which relief can be granted.




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                                     Second Affirmative Defense

           82.   Masabi’s equitable claims are barred, in whole or in part, by reason of unclean

  hands.

                                      Third Affirmative Defense

           83.   Masabi’s Improper Venue defenses have been waived.



                                   RESERVATION OF RIGHTS
           84.   In addition to the defenses set forth above, Bytemark expressly reserves the right

  to right to amend or supplement its Answer And Affirmative Defenses to the Counterclaims in

  order to allege or assert any additional defenses or affirmative defenses under Rule 8 of the Federal

  Rules of Civil Procedure or the applicable substantive law, and to assert any other matters of

  defense, either at law or in equity, that may now exist or that may become known or available in

  the future in the event that further investigation indicates that such defenses would be appropriate

  to assert; or to delete or withdraw any previously asserted defenses or affirmative defenses as may

  become necessary after a reasonable opportunity for discovery during the course of the litigation.



                                       PRAYER FOR RELIEF

           WHEREFORE, Bytemark respectfully demands judgment against Masabi dismissing the

  Counterclaims in their entirety and for such other relief, not inconsistent herewith, as may be just,

  equitable, proper, together with the costs and attorneys’ fees of this action.




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         Dated: June 16, 2017

                                             Respectfully submitted,




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                                             Attorneys for Plaintiff Bytemark, Inc.

                                CERTIFICATE OF SERVICE
         This is to certify that all known counsel of record who are deemed to have consented to

  electronic service are being served with a copy of this document via the Court’s CM/ECF system

  per E. Dist. Tex. Loc. Ct. R. CV-5(a)(3) on this the 16th day of June, 2017. Any other known

  counsel of record will be served with a copy of this document by email and/or facsimile

  transmission.




                                             Andy Tindel


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